          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 1 of 16 Page ID #:5150


            1    KEVIN S. ROSEN, SBN 133304
                   krosen@gibsondunn.com
            2    MATTHEW S. KAHN, SBN 261679
                   mkahn@gibsondunn.com
            3    SHANNON MADER, SBN 235271
                   smader@gibsondunn.com
            4    BLAKE SHINODA, SBN 300455
                   bshinoda@gibsondunn.com
            5    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            6    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            7    Facsimile: 213.229.6635
            8
            9    Attorneys for Defendants O’MELVENY &
                 MYERS LLP, STEVEN J. OLSON, AND J.
          10     JORGE DENEVE
          11                           UNITED STATES DISTRICT COURT
          12                         CENTRAL DISTRICT OF CALIFORNIA
          13     JEFFREY I. GOLDEN, Chapter 7           CASE NO. 2:14-cv-08725-CAS-AGR
                 Trustee of Aletheia Research and
          14     Management, Inc.,                      NOTICE OF MOTION AND MOTION
                                                        FOR ORDER CONFIRMING
          15                      Plaintiff,            ARBITRAL AWARD PURSUANT TO
                                                        § 1 ET SEQ. OF THE FEDERAL
          16          v.                                ARBITRATION ACT BY
                                                        DEFENDANTS O’MELVENY &
          17     O’MELVENY & MYERS LLP;                 MYERS LLP, STEVEN J. OLSON,
                 STEVEN J. OLSON, an individual; J.     AND J. JORGE DENEVE;
          18     JORGE DENEVE, an individual; and       SUPPORTING MEMORANDUM OF
                 DOES 1 through 12,                     POINTS AND AUTHORITIES
          19
                                  Defendants.           [SUPPORTING DECLARATION OF
          20                                            KEVIN S. ROSEN AND [PROPOSED]
                                                        ORDER FILED CONCURRENTLY
          21                                            HEREWITH]
          22                                            Hearing:
                                                        Date: October 21, 2019
          23                                            Time: 10:00 a.m.
                                                        Place: Courtroom 8D
          24                                            Judge: Hon. Christina A. Snyder
          25
          26
          27
          28

Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 2 of 16 Page ID #:5151


            1    TO PLAINTIFF AND TO HIS ATTORNEYS OF RECORD:
            2          NOTICE IS HEREBY GIVEN that on October 21, 2019, at 10:00 a.m., or as
            3    soon thereafter as counsel may be heard by the above-entitled court, located at 350 W.
            4    First Street, Los Angeles, California 90012, Defendants O’Melveny & Myers LLP,
            5    Steve J. Olson, and J. Jorge deNeve (“Defendants”) will, and hereby do, move the
            6    Court for an order confirming the corrected Final Award dated June 21, 2019 and
            7    issued in the arbitration between Defendants and the Trustee that the Court ordered on
            8    June 15, 2015. This motion is made pursuant to the Federal Arbitration Act, 9 U.S.C.
            9    § 1 et seq., and the Court’s inherent authority.
          10           This motion is made following the conference of counsel pursuant to L.R. 7-3,
          11     which began on August 27, 2019 via a letter from Defendants’ counsel to the Trustee’s
          12     counsel regarding the substance of this motion. Counsel exchanged additional email
          13     correspondence and had a meet-and-confer telephone conference, culminating in the
          14     parties entering into a stipulation that provided for a briefing schedule for this motion
          15     and the Trustee’s motion to vacate. (Dkt. 77, 79.)
          16           This motion is based upon this Notice of Motion and Motion, the attached
          17     Memorandum of Points and Authorities, the supporting Declaration of Kevin S. Rosen
          18     and all exhibits attached thereto and referenced therein, the proposed order granting the
          19     relief requested herein, all papers and pleadings on file, all matters of which judicial
          20     notice may be taken, and such further argument and evidence as may be presented at or
          21     before the hearing on this matter.
          22     Dated: September 9, 2019
          23                                             GIBSON, DUNN & CRUTCHER LLP
          24
          25                                             By: /s/ Kevin S. Rosen
                                                                          Kevin S. Rosen
          26
                                                         Attorneys for Defendants O’MELVENY &
          27                                             MYERS LLP, STEVEN J. OLSON, and
                                                         J. JORGE DENEVE
          28
                                                              1
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 3 of 16 Page ID #:5152
                                                             TABLE OF CONTENTS
                                                                                                                                         Page
            1    I. OVERVIEW ................................................................................................................ 1
            2    II. BACKGROUND........................................................................................................ 3
            3             A.       The Court Orders The Trustee’s State Law Claims To Arbitration .......... 3
            4             B.       The Arbitration Begins ............................................................................... 4
            5             C.       The Court Rejects The Trustee’s New Attempts To Avoid
            6                      Arbitration .................................................................................................. 4

            7             D.       The Arbitration Proceedings ...................................................................... 6

            8             E.       The Final Award Rejecting All Of The Trustee’s Claims ......................... 8

            9    III. ARGUMENT ............................................................................................................ 9

          10              A.       Confirmation Of The Final Award Is Mandatory Under The FAA ........... 9

          11              B.       The Final Award Should Be Confirmed .................................................. 10

          12              C.       The Court Should Set A Status Conference To Discuss Next Steps ....... 11

          13     IV. CONCLUSION....................................................................................................... 12

          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28
                                                                                 i
Gibson, Dunn &
                  NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP      TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                         LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 4 of 16 Page ID #:5153


            1                                               TABLE OF AUTHORITIES
            2                                                                                                                             Page(s)
            3                                                                 Cases
            4    AT&T Mobility LLC v. Concepcion,
            5      563 U.S. 333 (2011).................................................................................................... 9
            6    BDK, Inc. v. Escape Enters., Inc.,
            7      106 F. App’x 535 (9th Cir. 2004) ............................................................................. 12

            8    Hall Street Assocs., L.L.C. v. Mattel, Inc.,
                   552 U.S. 576 (2008).............................................................................................. 9, 10
            9
          10     Kyocera Corp. v. Prudential-Bache Trade Servs., Inc.,
                   341 F.3d 987 (9th Cir. 2003) ................................................................................ 9, 10
          11
                 Latinamerican Theatrical Grp. LLC v. Swen Int’l Holding,
          12
                    2013 WL 4016279 (C.D. Cal. Aug. 5, 2013) ........................................................... 10
          13
                                                                            Statutes
          14
                 9 U.S.C. § 9 ...................................................................................................................... 9
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28
                                                                                  ii
Gibson, Dunn &
                  NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP      TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                         LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 5 of 16 Page ID #:5154


            1                    MEMORANDUM OF POINTS AND AUTHORITIES
            2                                         I. OVERVIEW
            3            More than four years after the Trustee filed a Complaint in this Court that
            4    publicly and baselessly attacked and impugned Defendants’ ethics and legal work,
            5    Defendants were entirely vindicated in an arbitration and have fully prevailed against
            6    the Trustee’s claims of legal malpractice and breach of fiduciary duty. Defendants
            7    now ask the Court to confirm the Final Award from that arbitration.
            8            In his Complaint, the Trustee asserted two state law claims and three core
            9    claims. The Court ordered the Trustee’s state law claims to arbitration on June 15,
          10     2015. That arbitration commenced on July 9, 2015, and concluded on August 22,
          11     2019. While the arbitration proceeded, this action has been stayed. Notwithstanding
          12     the scurrilous allegations that the Trustee made in his Complaint, the Trustee utterly
          13     failed to prove any of his state law claims in the arbitration, as reflected in the Final
          14     Award issued by Judge Gary A. Feess (Ret.) (“the Arbitrator”).
          15             After presiding over years of arbitration proceedings culminating in a 12-day
          16     evidentiary hearing with over 1,200 admitted exhibits, the Arbitrator issued a detailed
          17     and well-reasoned 130-page Final Award. (Rosen Decl., ¶ 6, Ex. 3.)1 Simply put, as
          18     the Final Award makes clear, “[t]here was no malpractice” and “no actual or
          19     potential conflict” that could support a breach of fiduciary duty claim “in the joint
          20     representation at any time during the course of the representation.” (Id. at 128-29
          21     (emphases added); see also id. at 12 (“[T]he Arbitrator finds and concludes as follows
          22     that [Defendants’] representation of Aletheia and Eichler conformed to the applicable
          23     standard of care and that there was no conflict of interest in O’Melveny’s joint
          24     representation of Aletheia, Eichler and other individual defendants in the Proctor
          25
          26
                  1
                      The Final Award was initially issued on June 21, 2019. Respondents requested
          27          certain corrections pursuant to JAMS Rule 24(j), which were accepted by the
                      Arbitrator. The Arbitrator then issued a corrected Final Award, which is what
          28          Respondents seek to confirm. (Rosen Decl., ¶ 6.)
                                                            1
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 6 of 16 Page ID #:5155


            1    litigation or any other matter.” (emphases added).) Indeed, the Arbitrator carefully
            2    examined each of the Trustee’s allegations and found all of them wanting. (See, e.g.,
            3    id. at 41 (referring to a contention by the Trustee as “implausible” and “not supported
            4    by logic or the evidentiary record”), 84 (noting that one of the positions of Trustee’s
            5    ethics expert, Robert Kehr, was “indefensible”).)
            6              Additionally, with respect to causation (or lack thereof), the Arbitrator expressly
            7    found that, “[e]ven if the Trustee had met his burden of showing either professional
            8    negligence or breach of fiduciary duty, his claim would fail because he has not proved
            9    that anything O’Melveny did or failed to do caused damage to Aletheia.” (Id. at 89.)
          10     The Arbitrator underscored the Trustee’s lack of any evidence of causation:
          11               [W]hile the Trustee attacks O’Melveny’s conduct on many fronts,
                           including some that are immaterial to the core issues in this case, he
          12               offers no evidence of how an attorney representing only Aletheia would
                           have achieved a more favorable result in any of the matters for which
          13               O’Melveny was retained. The Trustee presented neither witnesses nor
                           documentation to show that such an attorney would have offered
          14               different advice to Aletheia, pursued a different course of action on
                           behalf of Aletheia (e.g., suing or taking other adverse actions toward
          15               Eichler, Peikin and others), that Aletheia would have agreed to such a
                           course of action, or that a different course of action would have achieved
          16               a better outcome in any respect, including recouping compensation paid
                           to Eichler and Peikin.
          17
                 (Id. at 92 (emphases added).) Instead, as the Arbitrator found, “[t]he only witnesses to
          18
                 testify on the proper conduct of O’Melveny’s representation of Aletheia . . . proved the
          19
                 contrary point; that no experienced litigator representing only Aletheia would have
          20
                 given materially different advice or pursued a materially different course of action than
          21
                 O’Melveny.” (Id. at 94.) These are just a few examples. As the Final Award puts it,
          22
                 the Trustee “failed to carry his burden of proof on any of his claims against any of the
          23
                 Respondents.” (Id. at 8 (emphases added).)
          24
                           After years of baseless allegations and costly litigation, the Trustee’s claims
          25
                 have been proven meritless. Defendants look forward to seeking dismissal of the
          26
                 Trustee’s remaining, core claims after the Final Award is confirmed and the stay is
          27
                 lifted.
          28
                                                                2
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 7 of 16 Page ID #:5156


            1                                      II. BACKGROUND
            2    A.      The Court Orders The Trustee’s State Law Claims To Arbitration
            3            The Trustee initiated this action on November 10, 2014. (Dkt. 1.) In his
            4    Complaint, the Trustee asserted two non-core state law claims (professional
            5    malpractice and breach of fiduciary duty) and three core bankruptcy claims for
            6    recovery of alleged preferential and fraudulent transfers. (Id. ¶¶ 63-97.)
            7            Defendants moved to compel arbitration of the Trustee’s state law claims on
            8    May 4, 2015, pursuant to the Federal Arbitration Act (the “FAA”). (Dkt. 17.) As
            9    Defendants explained in the motion to compel, O’Melveny’s engagement agreements
          10     with Aletheia contained a binding arbitration agreement requiring arbitration of the
          11     Trustee’s state law claims. (Id. at 3-5.)2 In response, the Trustee filed only a “limited
          12     opposition” that did “not dispute that” the state law claims “may be subject to
          13     arbitration.” (Dkt. 26 at 1.) Nor did the Trustee dispute that the FAA applied. Indeed,
          14     the Trustee even conceded that “[f]or the avoidance of doubt, the Trustee does not
          15     dispute that the prosecution of the [state law claims] in this Court should be stayed”
          16     because such a stay is “required by Section 3 of the FAA.” (Id. at 11.)
          17             On June 15, 2015, the Court granted Defendants’ motion to compel arbitration
          18     of the Trustee’s state law claims. (Dkt. 30 at 13.) The Court recognized that these
          19     claims “are both indisputably based on O’Melveny’s legal services. Thus, they fall
          20     within the scope of” the engagement agreements’ arbitration provision. (Dkt. 30 at 5.)
          21     The Court applied the FAA in making its decision. (Id. at 4.)
          22
          23
          24      2
                      The motion to compel also explained that O’Melveny’s initial engagement
                      agreement with Aletheia was dated January 26, 2010, and was supplemented three
          25          times (April 13, 2010; July 13, 2010; and April 14, 2011), and “every engagement
                      agreement executed after January 26, 2010 explicitly ‘supplement[ed]’ the [January
          26          26, 2010] [e]ngagement [a]greement and incorporated the ‘Terms of Engagement
                      therein,’ including the Arbitration Provision.” (Dkt. 17 at 3-5; see also Dkt. 17-2,
          27          17-3, 17-4, and 17-5 (the engagement agreements).) Defendants again submit these
                      engagement agreements with this motion to confirm. (Rosen Decl., ¶¶ 7-11, Exs. 4-
          28          7.)
                                                              3
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 8 of 16 Page ID #:5157


            1          With respect to the Trustee’s other three claims, the Court “stay[ed] the
            2    action . . . pending the completion of arbitration.” (Id. at 13.) The Court further ruled
            3    that the stayed claims “derive from [the Trustee’s] arbitrable claims under state law
            4    and could be narrowed or even dispatched by an arbitrator’s analysis of the underlying
            5    allegations,” and that the decision to stay was “bolstered by [the Trustee’s] counsel’s
            6    statement at oral argument to the effect that the decision of the arbitrator might operate
            7    as res judicata.” (Id. at 12 & n.4.). The Court expressly “retain[ed] full jurisdiction
            8    over this action.” (Dkt. 31.)
            9    B.    The Arbitration Begins
          10           Soon after entry of the Court’s June 15, 2015 arbitration order, the Trustee filed
          11     his Demand for Arbitration before JAMS, attaching and designating his Complaint in
          12     this action as his Statement of Claims. (Rosen Decl., ¶ 2.) The parties jointly selected
          13     Judge Feess as the Arbitrator and proceeded to arbitration. (Id., ¶ 2, Ex. 1.) The
          14     Trustee then filed a Revised Statement of Claims that, like his initial pleading, asserted
          15     claims for breach of fiduciary duty and professional negligence - malpractice against
          16     each of the Defendants—i.e., O’Melveny, Olson, and deNeve. (Rosen Decl., ¶ 3, Ex.
          17     2.)
          18     C.    The Court Rejects The Trustee’s New Attempts To Avoid Arbitration
          19           Nearly a year later and while arbitration proceedings were well underway, the
          20     Trustee changed his position and moved for reconsideration of the arbitration order. In
          21     his motion, the Trustee sought to raise—for the first time—an argument that the
          22     arbitration agreement was voidable on the grounds of illegality. But as the Court noted
          23     in denying the Trustee’s motion for reconsideration, the Trustee’s motion was not
          24     based on new law and could have been raised previously. (Dkt. 69 at 6 (“[I]n his
          25     motion for reconsideration, [the Trustee] concedes that he previously simply ‘failed to
          26     recognize’ the arguments he now raises.”).) When Defendants moved to compel
          27     arbitration, the Trustee “did not raise an illegality argument, conceded that the FAA
          28
                                                             4
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
          Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 9 of 16 Page ID #:5158


            1    applies to the [Arbitration] Agreement, . . . and did not dispute that its professional
            2    negligence and breach of fiduciary duty claims were subject to arbitration.” (Id. at 4.)
            3    Notwithstanding his prior position, the Trustee nonetheless asserted for the first time
            4    that the arbitration agreement is governed by the California Arbitration Act (“CAA”),
            5    not the FAA, and that the issue of the legality of the agreement should be determined
            6    by the Court. (Id.). The Court correctly rejected the Trustee’s new position.
            7            First, the Court rejected the Trustee’s purported justifications for changing his
            8    position and seeking reconsideration. The Court held that the Trustee had failed to
            9    provide a basis under Local Rule 7-18 to move for reconsideration, because, inter alia,
          10     the Trustee “concedes that he previously simply ‘failed to recognize’ the arguments he
          11     now raises” and “never explains why he was unable to make his same choice-of-law
          12     and illegality arguments” previously. (Id. at 6-7.) The Court further concluded that
          13     the Trustee had not “identif[ied] any intervening change in the law to justify his
          14     belated arguments.” (Id. at 7-8.) “[A]t the time O’Melveny brought its motion to
          15     compel arbitration, California courts had already established both rules of law that [the
          16     Trustee] now claims to be novel.” (Id. at 8.) The Court also rejected the Trustee’s
          17     arguments that he could use Federal Rule of Civil Procedure 60(b) as a ground to have
          18     the Court reconsider the order compelling arbitration. (Id. at 8-9.)
          19             Second, the Court rejected the Trustee’s argument that the CAA, not the FAA,
          20     applies. (Id. at 12.) After reviewing and discussing the caselaw, the Court correctly
          21     concluded (again) that the FAA applies—just as all parties had agreed all along (until
          22     the Trustee changed his position). (Id. at 12-25.) The Court found that, “[a]pplying
          23     the Ninth Circuit’s analysis to the present case results in the application of federal law
          24     [i.e., the FAA] and, as such, requires the arbitrator, not the Court, to determine the
          25     validity of the Agreement.” (Id. at 20.)3
          26
          27
                  3
                      Despite the Court’s instructions, the Trustee never raised his illegality argument
          28          with the Arbitrator.
                                                              5
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 10 of 16 Page ID #:5159


            1          Additionally, in an improper attempt to avoid both arbitration and this Court, the
            2    Trustee filed a motion for turnover in the bankruptcy court, forcing Defendants to file a
            3    motion in this Court, which was granted. (Dkt. 70, 75.) In connection with the
            4    Trustee’s turnover motion, this Court found that “the Trustee appears to be attempting
            5    to circumvent the Court’s prior orders compelling arbitration of the Trustee’s state law
            6    claims” and that “[t]here is no indication that the turnover motion is related to any on-
            7    going proceedings in the main bankruptcy case” (Dkt. 75 at 4).
            8    D.    The Arbitration Proceedings
            9          Returning to arbitration, the parties proceeded with discovery and pretrial
          10     motion practice, culminating in a 12-day evidentiary hearing. The discovery and
          11     pretrial motion practice was extensive, including 20 fact and expert depositions,
          12     millions of documents produced, seven motions for summary judgment (all filed by the
          13     Trustee), and six motions in limine (again all filed by the Trustee). (Rosen Decl., ¶ 4.)
          14           The Trustee also leveled several unsuccessful attacks against the Arbitrator,
          15     including seeking to disqualify him or cause him to recuse himself. (Rosen Decl.,
          16     ¶ 12.) His first motion on July 25, 2017 argued that the Arbitrator should recuse
          17     himself because of the Arbitrator’s disclosure that his son, like many law students
          18     planning to practice in Los Angeles, intended to interview for a summer associate
          19     position at O’Melveny and Gibson, Dunn & Crutcher LLP, Defendants’ counsel,
          20     among other law firms. (Rosen Decl., ¶ 13; Ex. 8 at 1 (stating that was the initial
          21     “ostensible basis” but that “[a]s further briefing was presented, the request morphed
          22     into complaints regarding the adequacy of my disclosures and the substance of my
          23     adverse rulings on motions made by the Trustee”).) The Arbitrator correctly rejected
          24     this argument, finding, inter alia, that the issue was moot because both law firms
          25     declined to extend offers, and regardless, that there would be no basis for recusal even
          26     if his son had been employed by one of the law firms. (Id. at 2-13.) The Arbitrator’s
          27     order also noted that “[a]ny motion to the district judge seeking disqualification of the
          28
                                                             6
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 11 of 16 Page ID #:5160


            1    arbitrator should be filed with the district court no later than September 11, 2017.” (Id.
            2    at 13.) The Trustee filed no such motion in this Court.
            3          In his second request to disqualify the Arbitrator on September 14, 2018, the
            4    Trustee objected to the Arbitrator’s ability to consider the testimony of Defendants’
            5    standard of care expert, John Spiegel, based on the Arbitrator’s decades-old brief
            6    contact with Spiegel when they both worked on a part-time pro bono basis, among
            7    many other volunteers, for the Christopher Commission. (Rosen Decl., ¶ 14; Ex. 9 at
            8    1-4.) The Arbitrator denied this gambit as well. (Id.) As the Arbitrator explained,
            9    “even though a 27-year-old contact with an anticipated witness imposes no disclosure
          10     obligation, let alone provides a basis for recusal, I believe that a response to the
          11     Trustee’s email would be appropriate because it is based on assumptions that are at
          12     least unsupported and, in some cases, erroneous.” (Id. at 2.) The Arbitrator corrected
          13     the Trustee’s misstatements about the Christopher Commission and concluded that
          14     “there was nothing at all about Mr. Spiegel’s role in that project that could have any
          15     bearing on any issue in this case, including the evaluation of any testimony that he may
          16     have to offer.” (Id. at 2-3.)
          17           Moreover, the Trustee had stated he planned to file a motion in limine to
          18     exclude Mr. Spiegel’s testimony and argued that “[w]ere Your Honor to admit Mr.
          19     Spiegel’s testimony despite the insurmountable infirmities with it, this too would raise
          20     serious concerns.” (Id.) The Arbitrator properly recognized this argument for what it
          21     was—a less than subtle, and thoroughly unprofessional, suggestion that an adverse
          22     ruling by the Arbitrator must mean that he was biased. (Id. at 3 (“By far the most
          23     troubling portion of the Trustee’s email is the attempt to precondition the ruling on the
          24     Trustee’s anticipated motion in limine regarding Mr. Spiegel’s testimony.”).)
          25           In the end, the Evidentiary Hearing lasted 12 days, 12 witnesses testified live,
          26     and more than 1,200 exhibits were admitted. (Rosen Decl., ¶ 5.) The parties then each
          27     submitted 50-page post-trial briefs and 25-page reply briefs. (Id.) Finally, there were
          28
                                                              7
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 12 of 16 Page ID #:5161


            1    live closing arguments. (Id.) Simply put, the Arbitrator heard and reviewed an
            2    extraordinary amount of evidence before issuing the Final Award in Defendants’ favor.
            3    E.    The Final Award Rejecting All Of The Trustee’s Claims
            4          The Arbitrator issued a detailed and well-reasoned Final Award spanning 130
            5    pages that found against the Trustee on each of his claims, including the Trustee’s
            6    principal claim that a conflict of interest existed pursuant to California Rule of
            7    Professional Conduct 3-310(C)(2). Notwithstanding the Trustee’s inflammatory
            8    allegations, the Arbitrator recognized that the Trustee’s claims were meritless and
            9    unsupported by the evidence. (See, e.g., Rosen Decl., ¶ 6, Ex. 3 at 7 (“The Trustee’s
          10     portrayal of events would make a compelling tale if it were supported by persuasive
          11     evidence, but it is not.” (emphasis added).)
          12           The Arbitrator summarized his findings and conclusions as follows:
          13           First, Respondents’ representation of Aletheia, Eichler and other
                       individuals in the Proctor litigation, from the initial investigation of the
          14           facts and law to the final effort to settle the dispute and beyond,
                       conformed to the applicable standard of care in the community. There
          15           was no malpractice.
          16           Second, Respondents’ joint representation of Aletheia, Eichler and other
                       individuals was proper. There was no actual or potential conflict in the
          17           joint representation at any time during the course of the representation.
          18           Third, Respondents’ had no duty to advise Aletheia regarding claims it
                       could pursue against Eichler. To the extent that it had a duty to alert
          19           regarding possible claims against Eichler and Peikin, Respondents
                       fulfilled that obligation. Aletheia’s senior managers and members of its
          20           board of directors were fully informed on those issues.
          21           Fourth, the Trustee did not properly and timely raise a claim regarding the
                       adequacy of O’Melveny’s handling of the SEC investigation. However,
          22           even if it had been timely raised, the Trustee failed to meet his burden of
                       showing that Respondents’ conduct either fell below the standard of care
          23           or amounted to a breach of their fiduciary duties to Aletheia.
          24           Fifth, even assuming that the Trustee had shown either malpractice or a
                       breach of fiduciary duty in respect to the handling of the Proctor litigation
          25           or the SEC investigation, he failed to prove that any act or omission of the
                       Respondents caused Aletheia to incur damages. The record is devoid of
          26           evidence as to how an attorney representing only Aletheia would have
                       conducted herself differently in respect to any of these matters, and how
          27           such conduct would have yielded a superior result for Aletheia.
          28
                                                             8
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 13 of 16 Page ID #:5162


            1          Sixth, neither Olson nor deNeve breached any fiduciary duty to Aletheia
                       either as counsel or as officers of the company.
            2
                 (Id. at 128-29 (emphases added).)
            3
                       The Arbitrator also included a seven-page appendix addressing witness
            4
                 credibility. Notably, the Arbitrator found that Roger Peikin, the Trustee’s only live
            5
                 percipient witness, “was neither credible nor persuasive.” (Id. at 134.) For example,
            6
                 the Arbitrator noted that “[b]y the Trustee’s own account, . . . Peikin received a
            7
                 ‘sweetheart deal’ in settlement of claims against him” brought by the Trustee, and the
            8
                 record demonstrated “serious inconsistencies that cannot be squared with an honest
            9
                 effort at providing truthful testimony.” (Id. at 131-32.) Conversely, the Arbitrator
          10
                 found the live testimony of Seth Aronson, Mr. Olson, and Mr. deNeve “to be credible
          11
                 on the material points in dispute in this matter.” (Id. at 137.)
          12
                                                     III. ARGUMENT
          13
                 A.    Confirmation Of The Final Award Is Mandatory Under The FAA
          14
                       It is “beyond dispute that the FAA was designed to promote arbitration,” and the
          15
                 Supreme Court has “repeatedly described the [FAA] as ‘embod[ying] [a] national
          16
                 policy favoring arbitration,’ . . . and ‘a liberal policy favoring arbitration agreements,
          17
                 notwithstanding any state substantive or procedural policies to the contrary.’” AT&T
          18
                 Mobility LLC v. Concepcion, 563 U.S. 333, 345-46 (2011) (citations omitted)
          19
                 (alterations in original). Sections 9 to 11 of the FAA “substantiat[e] a national policy
          20
                 favoring arbitration with just the limited review needed to maintain arbitration’s
          21
                 essential virtue of resolving disputes straightaway.” Hall Street Assocs., L.L.C. v.
          22
                 Mattel, Inc., 552 U.S. 576, 588 (2008).
          23
                       Accordingly, a court “must grant” a motion seeking an order confirming an
          24
                 arbitration award unless the award is vacated, modified, or corrected. 9 U.S.C. § 9.
          25
                 “Neither erroneous legal conclusions nor unsubstantiated factual findings justify
          26
                 federal court review of an arbitral award under the statute.” Kyocera Corp. v.
          27
                 Prudential-Bache Trade Servs., Inc., 341 F.3d 987, 994 (9th Cir. 2003); see also
          28
                                                              9
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 14 of 16 Page ID #:5163


            1    Latinamerican Theatrical Grp. LLC v. Swen Int’l Holding, 2013 WL 4016279, at *1
            2    (C.D. Cal. Aug. 5, 2013) (Snyder, J.) (same). As the Ninth Circuit has recognized, the
            3    FAA “afford[s] an extremely limited review authority, a limitation that is designed to
            4    preserve due process but not to permit unnecessary public intrusion into private
            5    arbitration procedures.” Kyocera, 341 F.3d at 998. Anything to the contrary would
            6    undermine the goals of the FAA: “[b]road judicial review of arbitration decisions
            7    could well jeopardize the very benefits of arbitration, rendering informal arbitration
            8    merely a prelude to a more cumbersome and time-consuming judicial review process.”
            9    Id.; see also Hall Street, 552 U.S. at 588 (“Any other reading opens the door to the
          10     full-bore legal and evidentiary appeals that can ‘rende[r] informal arbitration merely a
          11     prelude to a more cumbersome and time-consuming judicial review process,’ . . . and
          12     bring arbitration theory to grief in post arbitration process.” (quoting Kyocera, 341
          13     F.3d at 998) (alteration in original)).
          14     B.    The Final Award Should Be Confirmed
          15           The FAA specifies the very limited grounds on which a court may vacate,
          16     modify, or correct an award. Specifically, Section 10 provides only four grounds on
          17     which an award may be vacated:
          18           (1) where the award was procured by corruption, fraud, or undue means;
          19           (2) where there was evident partiality or corruption in the arbitrators, or
                       either of them;
          20
                       (3) where the arbitrators were guilty of misconduct in refusing to
          21           postpone the hearing, upon sufficient cause shown, or in refusing to hear
                       evidence pertinent and material to the controversy; or of any other
          22           misbehavior by which the rights of any party have been prejudiced; or
          23           (4) where the arbitrators exceeded their powers, or so imperfectly
                       executed them that a mutual, final, and definite award upon the subject
          24           matter submitted was not made.
          25           None of these grounds applies here. First, there is no evidence that the award
          26     “was procured by corruption, fraud, or undue means.” Second, there is no evidence
          27     that “there was evident partiality or corruption in the arbitrator[].” Indeed, the
          28
                                                             10
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 15 of 16 Page ID #:5164


            1    Arbitrator correctly denied on several occasions the Trustee’s erroneous attempts to
            2    disqualify him or obtain a recusal, and the Trustee declined to move this Court to
            3    disqualify the Arbitrator despite the opportunity to do so, no doubt because he knew
            4    such a motion would be meritless. Third, there is no evidence of misconduct or any
            5    other misbehavior by the Arbitrator. Finally, the Arbitrator did not exceed his
            6    powers.4
            7            Similarly, Section 11 provides only three grounds on which an award may be
            8    modified or corrected:
            9            (a) Where there was an evident material miscalculation of figures or an
                         evident material mistake in the description of any person, thing, or
          10             property referred to in the award.
          11             (b) Where the arbitrators have awarded upon a matter not submitted to
                         them, unless it is a matter not affecting the merits of the decision upon the
          12             matter submitted.
          13             (c) Where the award is imperfect in matter of form not affecting the
                         merits of the controversy.
          14
                         Again, none of these grounds applies here. There is no evidence that the
          15
                 Arbitrator made “an evident material miscalculation of figures or an evident material
          16
                 mistake in the description of any person, thing, or property referred to in the award,”
          17
                 nor is there any evidence that the Arbitrator “awarded upon a matter not submitted” or
          18
                 that the award “is imperfect in matter of form.”
          19
                 C.      The Court Should Set A Status Conference To Discuss Next Steps
          20
                         Finally, Defendants respectfully suggest that the Court set a status conference to
          21
                 discuss next steps. In deciding to stay the Trustee’s three core claims, the Court
          22
                 recognized that the Trustee’s “non-arbitrable claims under the Bankruptcy Code derive
          23
                 from his arbitrable claims under state law and could be narrowed or even dispatched
          24
                 by an arbitrator’s analysis of the underlying allegations.” (Dkt. 30 at 12.) The Court’s
          25
                 conclusion was “bolstered by [the Trustee’s] counsel’s statement at oral argument to
          26
          27
                  4
                      The Trustee has indicated that he intends to argue that the Final Award should be
          28          vacated. Defendants will respond to the Trustee’s motion.
                                                             11
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
        Case 2:14-cv-08725-CAS-AGR Document 84 Filed 09/09/19 Page 16 of 16 Page ID #:5165


            1    the effect that the decision of the arbitrator might operate as res judicata.” (Id. at 12
            2    n.4.). And that is precisely what happened here: the Arbitrator issued a detailed ruling
            3    against all of the Trustee’s state law claims, which also fully dispatches the purported
            4    bases for the Trustee’s remaining core claims. Thus, after confirming the Final Award,
            5    the Court should set a status conference to discuss lifting the stay and setting a
            6    schedule for the parties to brief the issue of whether the Trustee’s remaining claims
            7    should be dismissed. See, e.g., BDK, Inc. v. Escape Enters., Inc., 106 F. App’x 535,
            8    537-38 (9th Cir. 2004) (affirming district court’s orders confirming an arbitration
            9    award and granting summary judgment with respect to non-arbitrated claims based on
          10     the doctrine of collateral estoppel).
          11                                       IV. CONCLUSION
          12           For all of the foregoing reasons, Defendants request that the Court issue an order
          13     confirming the Final Award and such other relief as the Court may deem proper.
          14     Defendants further request that the Court set a status conference after confirming the
          15     Final Award to discuss how the Court would like to address the stayed claims in light
          16     of the factual findings by the Arbitrator.
          17     Dated: September 9, 2019
          18                                             GIBSON, DUNN & CRUTCHER LLP
          19
          20                                             By: /s/ Kevin S. Rosen
                                                                          Kevin S. Rosen
          21
                                                         Attorneys for Defendants O’MELVENY &
          22                                             MYERS LLP, STEVEN J. OLSON, and
                                                         J. JORGE DENEVE
          23
          24
          25
          26
          27
          28
                                                              12
Gibson, Dunn &
                 NOTICE OF MOTION AND MOTION FOR ORDER CONFIRMING ARBITRAL AWARD PURSUANT
Crutcher LLP     TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY DEFENDANTS O’MELVENY & MYERS
                                        LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
